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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI`I

  UNITED STATES OF AMERICA,       )         Case No. 19-cr-00099-DKW-KJM.
                                  )
                 Plaintiff,       )         JOINT DEFENDANTS’ MOTION
                                  )         IN LIMINE NO. 22: re EXCLUSION
       v.                         )         OF BETWEEN AROUND 2016 AND
                                  )         2018 CONSPIRACY TO COMMIT
  MICHAEL J. MISKE, JR.,     (01) )         ROBBERY EVIDENCE;
  JOHN B. STANCIL,           (02) )         CERTIFICATE OF SERVICE
  DELIA FABRO-MISKE,         (12) )
  JASON K. YOKOYAMA          (13) )
                                  )
                 Defendants.      )
                                  )

                                      MOTION

        Defendants move in limine under Federal Rules of Evidence 401, 402 and 403

  to exclude evidence pertaining to a conspiracy involving Government Witness Kaulana

  Freitas to rob an individual who he believed possessed a large supply of marijuana.


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  The government has informed counsel that it may seek to admit this evidence during

  trial. The evidence is inadmissible except for impeachment of Frieitas.

                                     BACKGROUND

        According to the government, at some point between around 2016 and 2018,

  government witness Kaulana Freitas conspired to rob an individual who he believed

  possessed a large supply of marijuana.

                                       ARGUMENT

        Federal Rule of Evidence 401 provides that evidence is relevant if “it has any

  tendency to make a fact more or less probable than it would be without the evidence”

  and “the fact is of consequence in determining the action.” Fed. R. Evid. 401. Evidence

  is either relevant or not. United States v. Foster, 986 F.2d 541, 542 (D.C. Cir. 1993). The

  test is the same for the prosecution and the defense. See United States v. Crenshaw, 698

  F.2d 1060, 1064-1065 (9th Cir. 1983). For evidence to be relevant it “must be probative

  of the proposition it is offered to prove, and ... the proposition to be proved must be one

  that is of consequence to the determination of the action.” United States v. Dean, 980

  F.2d 1286, 1288 (9th Cir. 1992) (“Long’s out-of-court statements are probative of why

  Deputy Needman went to the mobile home. However, his reasons for going there are not

  of consequence to the determination of the action, i.e. they do not bear on any issue

  involving the elements of the charged offense.”)

        Evidence that sometime, over the course of three years, 2016 to 2018, government

  witness Frieitas conspired to rob an individual who he believed possessed a large supply

  of marijuana for himself is not a fact of consequence in determining the elements of the

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  RICO conspiracy count one. Fed. R. Evid. 401&402; Dean, 980 F.2d at 1288. To prove

  a conviction for violation of 18 U.S.C. § 1962(d), the Government must show that a

  defendant knowingly agreed “to participate, directly or indirectly, in the conduct of the

  [enterprise’s] affairs through a pattern of racketeering.” United States v. Fernandez, 388

  F.3d 1199, 1226 n.18 (9th Cir. 2004); 9th Cir. Crim. Jury Instr. 18.8 (Revised Dec.

  2015). Freitas was planning to rob for himself, not the fictional, so-called Miske

  enterprise. It is inadmissible evidence under Federal Rule of Evidence 402. Even if it

  had some minor probative value,when probative value is small, even “a small risk of

  misleading the jury” or “a modest likelihood of unfair prejudice” is enough to outweigh

  the probative value of marginally relevant evidence. United States v. Espinoza, 647 F.3d

  1182, 1191 (9th Cir. 2011). That is the case.

                                      CONCLUSION

        Defendants request that the Court exclude the sometime between 2016 and 2018

  Freitas planned to rob a drug dealer of marijuana evidence.

  DATED: November 13, 2023

  /s/Michael J. Kennedy                    /s/ Donovan Odo
  MICHAEL J. KENNEDY                       DONOVAN ASAO ODO
  /s/ Lynn E. Panagakos                    /s/ Marcia Morrissey
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                            CERTIFICATE OF SERVICE

         I, Lynn E. Panagakos, hereby certify that this filing, through the court’s
  electronic filing system, all counsel of record have been served with this document.

        DATED: Honolulu, Hawai`i, November 13, 2023

                                  /s/ Lynn E. Panagakos
                                  LYNN E. PANAGAKOS




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